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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
ALLIANCE FOR HIPPOCRATIC MEDICINE,
et al.,
Plaintiffs,
V. Case No. 2:22-cv-00223-Z

U.S. FOOD AND DRUG ADMINISTRATION,
et al.,

Defendants,
DANCO LABORATORIES, LLC,

Intervenor-Defendant.

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DANCO LABORATORIES, LLC’S NOTICE OF APPEAL

Notice is given that Intervenor-Defendant Danco Laboratories, LLC hereby appeals to the
United States Court of Appeals for the Fifth Circuit from this Court’s Memorandum Opinion and
Order, entered into on April 7, 2023 at ECF No. 137.

Dated: April 7, 2023 Respectfully submitted,
/s/ Jessica L. Ellsworth

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CERTIFICATE OF SERVICE
I certify that on April 7, 2023, I electronically filed the foregoing Notice of Appeal using
the CM/ECF system. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties of record.

/s/ Jessica L. Ellsworth
